Case 3:20-cv-08570-JD Document 696-4 Filed 11/03/23 Page 1 of 8




                 EXHIBIT 1
                              Case 3:20-cv-08570-JD Document 696-4 Filed 11/03/23 Page 2 of 8
                                                UNITED STATES
                                    SECURITIES AND EXCHANGE COMMISSION
                                                                          Washington, D.C. 20549
                                                              ____________________________________________

                                                                         FORM 10-Q
                                                              ____________________________________________
(Mark One)
☒     QUARTERLY REPORT PURSUANT TO SECTION 13 OR 15(d) OF THE SECURITIES EXCHANGE ACT OF 1934
                                      For the quarterly period ended September 30, 2020
                                                               or
☐     TRANSITION REPORT PURSUANT TO SECTION 13 OR 15(d) OF THE SECURITIES EXCHANGE ACT OF 1934
                                        For the transition period from      to
                                             Commission File Number: 001-35551
                                     ____________________________________________

                                                                      Facebook, Inc.
                                                              (Exact name of registrant as specified in its charter)
                                                              ____________________________________________

                                        Delaware                                                                                 XX-XXXXXXX
               (State or other jurisdiction of incorporation or organization)                                       (I.R.S. Employer Identification Number)
                                                               1601 Willow Road, Menlo Park, California 94025
                                                                 (Address of principal executive offices and Zip Code)

                                                                                  (650) 543-4800
                                                                 (Registrant's telephone number, including area code)
                                                              ____________________________________________

Securities registered pursuant to Section 12(b) of the Act:

                           Title of each class                                   Trading Symbol(s)                        Name of each exchange on which registered
             Class A Common Stock, par value $0.000006                                    FB                                    The Nasdaq Stock Market LLC

Indicate by check mark whether the registrant (1) has filed all reports required to be filed by Section 13 or 15(d) of the Securities Exchange Act of 1934 (Exchange Act) during
the preceding 12 months (or for such shorter period that the registrant was required to file such reports), and (2) has been subject to such filing requirements for the past
90 days. Yes ☒ No ☐
Indicate by check mark whether the registrant has submitted electronically every Interactive Data File required to be submitted pursuant to Rule 405 of Regulation S-T (§
232.405 of this chapter) during the preceding 12 months (or for such shorter period that the registrant was required to submit such files). Yes ☒ No ☐
Indicate by check mark whether the registrant is a large accelerated filer, an accelerated filer, a non-accelerated filer, a smaller reporting company, or an emerging growth
company. See the definitions of "large accelerated filer," "accelerated filer," "smaller reporting company," and "emerging growth company" in Rule 12b-2 of the Exchange Act.

Large accelerated filer              ☒                                                                                              Accelerated filer                      ☐

Non-accelerated filer                ☐                                                                                              Smaller reporting company              ☐
                                                                                                                                    Emerging growth company                ☐
If an emerging growth company, indicate by check mark if the registrant has elected not to use the extended transition period for complying with any new or revised
financial accounting standards provided pursuant to Section 13(a) of the Exchange Act.
                                                                                                                                                                           ☐
Indicate by check mark whether the registrant is a shell company (as defined in Rule 12b-2 of the Exchange Act). Yes ☐ No ☒
Indicate the number of shares outstanding of each of the issuer's classes of Common Stock, as of the latest practicable date.

                                Class                                                                         Number of Shares Outstanding
         Class A Common Stock $0.000006 par value                                                         2,403,968,963 shares outstanding as of October 23, 2020
         Class B Common Stock $0.000006 par value                                                          444,323,708 shares outstanding as of October 23, 2020
                          Case 3:20-cv-08570-JD Document 696-4 Filed 11/03/23 Page 3 of 8
                                                                    FACEBOOK, INC.
                                                                  TABLE OF CONTENTS


                                                                                                                                          Page

Note About Forward-Looking Statements                                                                                                      3

Limitations of Key Metrics and Other Data                                                                                                  4

                                                    PART I—FINANCIAL INFORMATION                                                           7

Item 1.       Financial Statements (unaudited)                                                                                             7

              Condensed Consolidated Balance Sheets—September 30, 2020 and December 31, 2019                                               7

              Condensed Consolidated Statements of Income—for the three and nine months ended September 30, 2020 and 2019                  8

              Condensed Consolidated Statements of Comprehensive Income—for the three and nine months ended September 30, 2020 and 2019    9

              Condensed Consolidated Statements of Stockholders' Equity—for the three and nine months ended September 30, 2020 and 2019    10

              Condensed Consolidated Statements of Cash Flows—for the nine months ended September 30, 2020 and 2019                        11

              Notes to Condensed Consolidated Financial Statements                                                                         13

Item 2.       Management's Discussion and Analysis of Financial Condition and Results of Operations                                        29

Item 3.       Quantitative and Qualitative Disclosures About Market Risk                                                                   49

Item 4.       Controls and Procedures                                                                                                      50

                                                      PART II—OTHER INFORMATION                                                            51

Item 1.       Legal Proceedings                                                                                                            51

Item 1A.      Risk Factors                                                                                                                 53

Item 2.       Unregistered Sales of Equity Securities and Use of Proceeds                                                                  84

Item 6.       Exhibits                                                                                                                     85

SIGNATURES                                                                                                                                 86


                                                                            2
                           Case 3:20-cv-08570-JD Document 696-4 Filed 11/03/23 Page 4 of 8
Table of Contents

                                                   NOTE ABOUT FORWARD-LOOKING STATEMENTS

      This Quarterly Report on Form 10-Q contains forward-looking statements. All statements contained in this Quarterly Report on Form 10-Q other than
statements of historical fact, including statements regarding our future results of operations and financial position, our business strategy and plans, and our
objectives for future operations, are forward-looking statements. The words "believe," "may," "will," "estimate," "continue," "anticipate," "intend," "expect," and
similar expressions are intended to identify forward-looking statements. We have based these forward-looking statements largely on our current expectations and
projections about future events and trends that we believe may affect our financial condition, results of operations, business strategy, short-term and long-term
business operations and objectives, and financial needs. These forward-looking statements are subject to a number of risks, uncertainties and assumptions,
including those described in Part II, Item 1A, "Risk Factors" in this Quarterly Report on Form 10-Q. Moreover, we operate in a very competitive and rapidly
changing environment. New risks emerge from time to time. It is not possible for our management to predict all risks, nor can we assess the impact of all factors on
our business or the extent to which any factor, or combination of factors, may cause actual results to differ materially from those contained in any forward-looking
statements we may make. In light of these risks, uncertainties and assumptions, the future events and trends discussed in this Quarterly Report on Form 10-Q may
not occur and actual results could differ materially and adversely from those anticipated or implied in the forward‑looking statements.

       We undertake no obligation to revise or publicly release the results of any revision to these forward-looking statements, except as required by law. Given
these risks and uncertainties, readers are cautioned not to place undue reliance on such forward‑looking statements.

       Unless expressly indicated or the context requires otherwise, the terms "Facebook," "company," "we," "us," and "our" in this document refer to Facebook,
Inc., a Delaware corporation, and, where appropriate, its subsidiaries. The term "Facebook" may also refer to our products, regardless of the manner in which they
are accessed. The term "Family" refers to our Facebook, Instagram, Messenger, and WhatsApp products. For references to accessing Facebook or our other
products on the "web" or via a "website," such terms refer to accessing such products on personal computers. For references to accessing Facebook or our other
products on "mobile," such term refers to accessing such products via a mobile application or via a mobile-optimized version of our websites such as
m.facebook.com, whether on a mobile phone or tablet.



                                                                                 3
                            Case 3:20-cv-08570-JD Document 696-4 Filed 11/03/23 Page 5 of 8
Table of Contents

                                                   LIMITATIONS OF KEY METRICS AND OTHER DATA

       The numbers for our key metrics are calculated using internal company data based on the activity of user accounts. We have historically reported the
numbers of our daily active users (DAUs), monthly active users (MAUs), and average revenue per user (ARPU) (collectively, our "Facebook metrics") based on
user activity only on Facebook and Messenger and not on our other products. Beginning with our Annual Report on Form 10-K for the year ended December 31,
2019, we also report our estimates of the numbers of our daily active people (DAP), monthly active people (MAP), and average revenue per person (ARPP)
(collectively, our "Family metrics") based on the activity of users who visited at least one of Facebook, Instagram, Messenger, and WhatsApp (collectively, our
"Family" of products) during the applicable period of measurement. We believe our Family metrics better reflect the size of our community and the fact that many
people are using more than one of our products. As a result, over time we intend to report our Family metrics as our key metrics in place of DAUs, MAUs, and
ARPU in our periodic reports filed with the Securities and Exchange Commission.

       While these numbers are based on what we believe to be reasonable estimates of our user base for the applicable period of measurement, there are inherent
challenges in measuring usage of our products across large online and mobile populations around the world. The methodologies used to measure these metrics
require significant judgment and are also susceptible to algorithm or other technical errors. In addition, we are continually seeking to improve our estimates of our
user base, and such estimates may change due to improvements or changes in our methodology. We regularly review our processes for calculating these metrics,
and from time to time we discover inaccuracies in our metrics or make adjustments to improve their accuracy, which can result in adjustments to our historical
metrics. Our ability to recalculate our historical metrics may be impacted by data limitations or other factors that require us to apply different methodologies for
such adjustments. We generally do not intend to update previously disclosed Family metrics for any such inaccuracies or adjustments that are within the error
margins disclosed below.

       In addition, our Facebook metrics and Family metrics estimates will differ from estimates published by third parties due to differences in methodology.

Facebook Metrics

       We regularly evaluate our Facebook metrics to estimate the number of "duplicate" and "false" accounts among our MAUs. A duplicate account is one that a
user maintains in addition to his or her principal account. We divide "false" accounts into two categories: (1) user-misclassified accounts, where users have created
personal profiles for a business, organization, or non-human entity such as a pet (such entities are permitted on Facebook using a Page rather than a personal profile
under our terms of service); and (2) violating accounts, which represent user profiles that we believe are intended to be used for purposes that violate our terms of
service, such as bots and spam. The estimates of duplicate and false accounts are based on an internal review of a limited sample of accounts, and we apply
significant judgment in making this determination. For example, to identify duplicate accounts we use data signals such as identical IP addresses and similar user
names, and to identify false accounts we look for names that appear to be fake or other behavior that appears inauthentic to the reviewers. Any loss of access to
data signals we use in this process, whether as a result of our own product decisions, actions by third-party browser or mobile platforms, regulatory or legislative
requirements, limitations while our personnel work remotely during the COVID-19 pandemic, or other factors, also may impact the stability or accuracy of our
estimates of duplicate and false accounts. Our estimates also may change as our methodologies evolve, including through the application of new data signals or
technologies or product changes that may allow us to identify previously undetected duplicate or false accounts and may improve our ability to evaluate a broader
population of our users. Duplicate and false accounts are very difficult to measure at our scale, and it is possible that the actual number of duplicate and false
accounts may vary significantly from our estimates.

       In the fourth quarter of 2019, we estimated that duplicate accounts may have represented approximately 11% of our worldwide MAUs. We believe the
percentage of duplicate accounts is meaningfully higher in developing markets such as the Philippines and Vietnam, as compared to more developed markets. In
the fourth quarter of 2019, we estimated that false accounts may have represented approximately 5% of our worldwide MAUs. Our estimation of false accounts can
vary as a result of episodic spikes in the creation of such accounts, which we have seen originate more frequently in specific countries such as Indonesia and
Vietnam. From time to time, we disable certain user accounts, make product changes, or take other actions to reduce the number of duplicate or false accounts
among our users, which may also reduce our DAU and MAU estimates in a particular period. We intend to disclose our estimates of the number of duplicate and
false accounts among our MAUs on an annual basis.

                                                                                  4
                            Case 3:20-cv-08570-JD Document 696-4 Filed 11/03/23 Page 6 of 8
Table of Contents


       The numbers of DAUs and MAUs discussed in this Quarterly Report on Form 10-Q, as well as ARPU, do not include users on Instagram, WhatsApp, or our
other products, unless they would otherwise qualify as DAUs or MAUs, respectively, based on their other activities on Facebook.

Family Metrics

        Many people in our community have user accounts on more than one of our products, and some people have multiple user accounts within an individual
product. Accordingly, for our Family metrics, we do not seek to count the total number of user accounts across our products because we believe that would not
reflect the actual size of our community. Rather, our Family metrics represent our estimates of the number of unique people using at least one of Facebook,
Instagram, Messenger, and WhatsApp. We do not require people to use a common identifier or link their accounts to use multiple products in our Family, and
therefore must seek to attribute multiple user accounts within and across products to individual people. To calculate these metrics, we rely upon complex
techniques, algorithms and machine learning models that seek to count the individual people behind user accounts, including by matching multiple user accounts
within an individual product and across multiple products when we believe they are attributable to a single person, and counting such group of accounts as one
person. These techniques and models require significant judgment, are subject to data and other limitations discussed below, and inherently are subject to statistical
variances and uncertainties. We estimate the potential error in our Family metrics primarily based on user survey data, which itself is subject to error as well. While
we expect the error margin for our Family metrics to vary from period to period, we estimate that such margin generally will be approximately 4% of our
worldwide MAP. At our scale, it is very difficult to attribute multiple user accounts within and across products to individual people, and it is possible that the
actual numbers of unique people using our products may vary significantly from our estimates, potentially beyond our estimated error margins. As a result, it is
also possible that our Family metrics may indicate changes or trends in user numbers that do not match actual changes or trends.

       To calculate our estimates of Family DAP and MAP, we currently use a series of machine learning models that are developed based on internal reviews of
limited samples of user accounts and calibrated against user survey data. We apply significant judgment in designing these models and calculating these estimates.
For example, to match user accounts within individual products and across multiple products, we use data signals such as similar device information, IP addresses,
and user names. We also calibrate our models against data from periodic user surveys of varying sizes and frequency across our products, which are inherently
subject to error. The timing and results of such user surveys have in the past contributed, and may in the future contribute, to changes in our reported Family
metrics from period to period. In addition, our data limitations may affect our understanding of certain details of our business and increase the risk of error for our
Family metrics estimates. Our techniques and models rely on a variety of data signals from different products, and we rely on more limited data signals for some
products compared to others. For example, as a result of limited visibility into encrypted products, we have fewer data signals from WhatsApp user accounts and
primarily rely on phone numbers and device information to match WhatsApp user accounts with accounts on our other products. Similarly, although Messenger
Kids users are included in our Family metrics, we do not seek to match their accounts with accounts on our other applications for purposes of calculating DAP and
MAP. Any loss of access to data signals we use in our process for calculating Family metrics, whether as a result of our own product decisions, actions by third-
party browser or mobile platforms, regulatory or legislative requirements, limitations while our personnel work remotely during the COVID-19 pandemic, or other
factors, also may impact the stability or accuracy of our reported Family metrics. Our estimates of Family metrics also may change as our methodologies evolve,
including through the application of new data signals or technologies, product changes, or other improvements in our user surveys, algorithms, or machine learning
that may improve our ability to match accounts within and across our products or otherwise evaluate the broad population of our users. In addition, such evolution
may allow us to identify previously undetected violating accounts (as defined below).

       We regularly evaluate our Family metrics to estimate the percentage of our MAP consisting solely of "violating" accounts. We define "violating" accounts
as accounts which we believe are intended to be used for purposes that violate our terms of service, including bots and spam. In the fourth quarter of 2019, we
estimated that approximately 3% of our worldwide MAP consisted solely of violating accounts. Such estimation is based on an internal review of a limited sample
of accounts, and we apply significant judgment in making this determination. For example, we look for account information and behaviors associated with
Facebook and Instagram accounts that appear to be inauthentic to the reviewers, but we have limited visibility into WhatsApp user activity due to encryption. In
addition, if we believe an individual person has one or more violating accounts, we do not include such person in our violating accounts estimation as long as we
believe they have one account that does not constitute a violating account. From time to time, we disable certain user accounts, make product changes, or take other
actions to reduce

                                                                                  5
                               Case 3:20-cv-08570-JD Document 696-4 Filed 11/03/23 Page 7 of 8
Table of Contents


Trends in Our Facebook User Metrics

       The numbers for our key Facebook metrics, our DAUs, MAUs, and average revenue per user (ARPU), do not include users on Instagram, WhatsApp, or our
other products, unless they would otherwise qualify as DAUs or MAUs, respectively, based on their other activities on Facebook.

       Trends in the number of users affect our revenue and financial results by influencing the number of ads we are able to show, the value of our ads to
marketers, the volume of Payments transactions, as well as our expenses and capital expenditures. Substantially all of our daily and monthly active users (as
defined below) access Facebook on mobile devices.

    •     Daily Active Users (DAUs). We define a daily active user as a registered and logged-in Facebook user who visited Facebook through our website or a
          mobile device, or used our Messenger application (and is also a registered Facebook user), on a given day. We view DAUs, and DAUs as a percentage of
          MAUs, as measures of user engagement on Facebook.




        Note: For purposes of reporting DAUs, MAUs, and ARPU by geographic region, Europe includes all users in Russia and Turkey and Rest of World includes all users in Africa, Latin
        America, and the Middle East.

                                                                                           31
                          Case 3:20-cv-08570-JD Document 696-4 Filed 11/03/23 Page 8 of 8
Table of Contents


       Worldwide DAUs increased 12% to 1.82 billion on average during September 2020 from 1.62 billion during September 2019. Users in India, Indonesia, and
the Philippines represented the top three sources of growth in DAUs during September 2020, relative to the same period in 2019.

    •   Monthly Active Users (MAUs). We define a monthly active user as a registered and logged-in Facebook user who visited Facebook through our website
        or a mobile device, or used our Messenger application (and is also a registered Facebook user), in the last 30 days as of the date of measurement. MAUs
        are a measure of the size of our global active user community on Facebook.




       As of September 30, 2020, we had 2.74 billion MAUs, an increase of 12% from September 30, 2019. Users in India, Indonesia, and the Philippines
represented the top three sources of growth in the third quarter of 2020, relative to the same period in 2019.

                                                                             32
